                              Case 22-10522-JTD                      Doc 1         Filed 06/09/22            Page 1 of 11


   Fill in this information to identify the case:

   United States Bankruptcy Court for the:

                             District of Delaware
                                        (State)
   Case number {H known):                                    Chapter 11                                                           a Check if this is
                                                                                                                                     amended filing



Official Form 201
Voluntary Petition for Non-lndividuals Filing for Bankruptcy 04/22
 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
 number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-lndividuals, is available.



  1. Debtor's name                                Rider Hotel. LLC


  2. All other names debtor used                  Rider Hotel, LLC, a Wisconsin limited liability company
     in the last 8 years
     Include any assumed names,
     trade names, and doing business
     as names




 3. Debtor's federal Employer 20 8312426
     Identification Number (EIN) — — — — — — — —


 4. Debtor's address                         Principal place of business                                 Mailing address, if different from principal place
                                                                                                         of business

                                             500 West Florida Street                                     W6609 Pine Hilt Trail
                                             Number Street                                               Number Street

                                                                                                         P.O. Box 71
                                                                                                         P 0 Box

                                            Milwaukee, Wl 53204                                          Cascade,Wl 53011
                                            City                             State ZIP Code              City                        State     ZIP Code

                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                             Milwaukee County, Wisconsin
                                            County
                                                                                                         Number Street




                                                                                                         City                        State     ZIP Code



 s. Debtor's website (URL)




Official Form 201                                 Voluntary Petitton for Non-lndividuals Filing for Bankruptcy                            page 1
                           Case 22-10522-JTD              Doc 1          Filed 06/09/22              Page 2 of 11



Debtor      Rider Hotel, LLC                                                            Case number i/iknown)_
            Name




 6. Type of debtor                  El Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                    Q Partnership (excluding LLP)
                                    1-1 Other. Specify:

                                    A. Check one:
 7. Describe debtor's business
                                    1-1 Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                    a Single Asset Real Estate (as defined in 11 U.S.C. § 101(518))
                                    1-1 Railroad (as defined in 11 U.S.C. § 101(44))
                                    a Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                    Q Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                    Q Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                    Q None of the above


                                    B. Check all that apply:

                                    1-1 Tax-exempt entity (as described in 26 U.S.C. § 501)
                                    Q Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                       § 80a-3)
                                    Q Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                    C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                       httD://www.uscourts.aov/four-diait-national-association-naics-codes.

                                        J_^J_J_

8. Under which chapter of the       Check one:
   Bankruptcy Code is the
   debtor filing?                   a Chapter 7
                                    1-1 Chapter 9
                                    t3 Chapter 11. Check all that apply:
                                                   1-] Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                        insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                        4/01/25 and every 3 years after that).
                                                    Q The debtor is a small business debtor as defined in 11 U.S.C. § 101 (51D). If the
                                                        debtor is a small business debtor, attach the most recent balance sheet, statement
                                                        of operations, cash-flow statement, and federal income tax return or if all of these
                                                        documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                    QThe debtor is a small business debtor as defined in 11 U.S.C. § 101 (51D), and it
                                                        chooses to proceed under Subchapter V of Chapter 11 .

                                                    1-1 A plan is being filed with this petition.
                                                    I—I Acceptances of the plan were solicited prepetition from one or more classes of
                                                        creditors, in accordance with 11 U.S.C. § 1126(b).

                                                    1-1 The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                        Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                        Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-lndividuals Filing
                                                        for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                    1-1 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                        12b-2.
                                    a Chapter 12
9. Were prior bankruptcy cases El No
   filed by or against the debtor
   within the last 8 years?       1-1 Yes. District                              When            Case number
                                                                                     MM/ DD/YYYY
   If more than 2 cases, attach a
   separate list.                            District                             When                      Case number
                                                                                         MM/ DD/YYYY


Official Form 201                      Voluntary Petition for Non-lndividuals Filing for Bankruptcy                               page 2
                            Case 22-10522-JTD                  Doc 1        Filed 06/09/22             Page 3 of 11



Debtor
             Rider Hotel, LLC
                                                                                           Case number itfknom)
             Name



 10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an             LI Yes. Debtor                                                         Relationship
    affiliate of the debtor?                     Olstnct                                                      When
    List all cases. If more than 1,                                                                                             / DO /YYYY
    attach a separate list                       Case number, if known



 11. Why is the case filed in this     Check all that apply:
    distiict?
                                      B Debtor has had its domidle, phncipal place of business. of principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 1 80 days than in any other
                                          district.

                                       Q A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have       a No
   possession of any real             LI Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                        Why does the property need immediate attention? (Check all that apfty.)
   attention?
                                               Q It poses or is alleged to pose a threat of imminent and ktentifiable hazard to public health or safety.
                                                      What is the hazard?

                                               Q It needs to be physically secured or protected from the weather.
                                               1-1 It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attentun (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                               a Other


                                               Where is the property?.
                                                                            Number         Street



                                                                           City                                           State ZIP Code


                                               Is the property insured?
                                               a No
                                               Q Yes. Insurance agency

                                                          Contact name


                                                          Phone




           Statistical and administrative information




13. Debtor's estimation of            Check one:
   available funds                    Q Funds will be available for distr bution to unsecured creditors.
                                      1-1 After any administrative expenses are paid, no funds will be available for distr bution to unsecured creditors.

                                      a i-49                             a 1,000-5,000                            01 25,001-50,000
14. Estimated number of               350-99                             a 5,001-10,000                           1-1 50,001-100.000
   creditors
                                      a 100-199                          a 10,001-25,000                          1-] More than 100,000
                                      1-1 200-999

Official Form 201                        Voluntary Petition for Non-lndividuals Filing for Bankruptcy                                 page 3
                           Case 22-10522-JTD                       Doc 1         Filed 06/09/22              Page 4 of 11



Debtor Rider Hotel, LLC                                                                          Case number (fffexa.n)
             Nmw



                                         a $0-$50,000                        l-1 $1,000,001-$10 million                    a $500,000,001-$1 billion
 15. Estimated assets
                                         a $50,001-5100,000                  a $10,000,001-$50 million                     1-1 $1,000,000,001-$10 billion
                                         a $100,001-$500,000                 a $50,000,001-$100 million                    a $10,000,000,001-$50 billion
                                         01 $500,001-$1 million              a $100,000,001-$500 million                   1-1 More than $50 billion

                                         a $0-$50,000                       a $1,000,001-$10 million                       a $500,000,001-$1 billion
 16. Estimated liabilities               !-1 $50,001-$100,000               a $10,000,001-$50 millun                       a $1,000,000,001-$10 billion
                                         a $100,001-$500.000                1-1 $50,000,001-$100 million                   a $10,000,000.001-$50 billion
                                         a $500,001-$1 million              a $100.000,001-$500 million                    a More than $50 billion



            Request for Relief, Declaration, and Signatures


 WARNING - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in tines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,1519, and 3571-


17. Declaration and signature of              The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of               petition.
    debtor

                                              I have been authorized to file this petition on behalf of the debtor.


                                              I have examined the information in this petition and have a reasonable belief that the informatun is tme and
                                              correct-



                                         I declare under penalty of perjury that the foregoing is true and correct-
                                                                   709/2022
                                                         on
                                                              MM / DD / YYYY

                                          x                                                                 Timothy J. Dixon
                                                                   ed            Bve of debtor             Printed name

                                                          sident




18. Signature of attorney                x             Mark Minuti                                         Date
                                                                                                                          06/09/2022
                                              Signature of attorney for debtor                                                /DD /YYYY


                                               Mark Minuti
                                            Printed name
                                               Saul Ewing Arnstein & Lehr LLP
                                            Firm name
                                               1201 N. Market Street, Suite 2300
                                            Number Street

                                                Wilmington                                                       DE               19801
                                            City                                                               State           ZIP Code

                                              302-421-6800                                                      mark.minuti(%saul.com
                                            Contact phone                                                      Email address


                                                2659                                                            DE
                                            Bar number                                                         State




Official Form 201                           Voluntary Petition for Non-lndividuals Filing for Bankmptcy                                      page 4
                Case 22-10522-JTD         Doc 1     Filed 06/09/22     Page 5 of 11




                       WRITTEN CONSENT OF RIDER HOTEL, LLC
                                       Dated June, ^ , 2022
The undersigned. Rider Hotel Mezzanine, LLC, a Wisconsin limited liability company, being the
sole member of Rider Hotel, LLC, a Delaware limited liability company (the "Company"), in its
capacity as the sole member of the Company, does hereby consent in writing to the adoption of
the following resolutions as of the date hereof:

         WHEREAS, the Company has determined that it is desirable and in the best interests of
the Company and its creditors, employees and other interested parties that a petition be filed by
the Company, seeking relief under the provisions of Chapter 11 of Title 11 of the United States
Code (the "Bankruptcy Code") in the United States Bankruptcy Court for the District of
Delaware (the "Bankruptcy Court").
        NOW, THEREFORE, BE IT RESOLVED, that the Company be, and hereby is,
authorized and empowered to file a voluntary petition for relief under Chapter 11 of the
 Bankruptcy Code (such voluntary petition, the "Chapter 11 Case") in a court of proper
jurisdiction; and
       RESOLVED FURTHER, that Timothy J. Dixon (the "Authorized Agent") be and
hereby is, authorized and directed, in the name of and on behalf of the Company, appointed as
the Company's authorized representative, and in such capacity, with power of delegation, be and
hereby is, authorized and empowered to execute and file on behalf of the Company or authorize
the execution of, all petitions, schedules, lists, applications, pleadings and other motions, papers,
agreements, consents or documents, and to take any and all action that he deems necessary,
proper and desirable to obtain such relief in the Chapter 1 1 Case, including, without limitation,
any action necessary to maintain the ordinary course operation of the Company's business.
        RESOLVED FURTHER, that such Authorized Agent is authorized and directed to
employ the law firm of Carlson Dash LLC as general bankruptcy counsel to represent and assist
the Company in carrying out its duties under the Bankruptcy Code, and to take any and all
actions to advance the Company's rights and obligations, including filing any pleadings; and in
connection therewith, the Authorized Agent, with power of delegation, is hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to
be filed an appropriate application to retain the services ofCarlson Dash LLC.
        RESOLVED FURTHER, that such Authorized Agent is authorized and directed to
employ the law firm of Saul Ewing Arnstein & Lehr LLP as local Delaware bankmptcy counsel
to represent and assist the Company in carrying out its duties under the Bankmptcy Code, and to
take any and all actions to advance the Company's rights and obligations; and in coimection
therewith, the Authorized Agent, with power of delegation, is hereby authorized and directed to
execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed an
appropriate application to retain the services of Saul Ewing Amstein & Lehr LLP.
        RESOLVED FURTHER, that such Authorized Agent is authorized and directed to
employ the financial advisory firm of B. Riley Financial, Inc. as financial advisor to represent


40141211.2
                Case 22-10522-JTD          Doc 1    Filed 06/09/22      Page 6 of 11




and assist the Company in carrying out its duties under the Bankruptcy Code, and to take any and
all actions to advance the Company's rights and obligations, including the preparation and
analysis of the Company's financials; and in connection therewith, the Authorized Agent, with
power of delegation, is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed an appropriate application to retain
the services of B. Riley Financial, Inc.

        RESOLVED FURTHER, that the Authorized Agent is authorized and directed to
employ any other professionals to assist the Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance the Company's rights and
obligations; and in connection therewith, the Authorized Agent, with power of delegation, is
hereby authorized and directed to execute appropriate retention agreements, pay appropriate
retainers, and to cause to be filed appropriate applications for authority to retain the services of
any other professionals as necessary.

        RESOLVED FURTHER, that the Authorized Agent is authorized and directed to, with
power of delegation, to execute and file all petitions, schedules, motions, lists, applications,
pleadings, and other papers and, in connection therewith, to employ and retain all assistance by
legal counsel, accountants, financial advisors, and other professionals and to take and perform
any and all further acts and deeds that the Authorized Agent deems necessary, proper or
desirable in connection with the Chapter 11 Case, with a view to the successful prosecution of
such case.

        RESOLVED FURTHER, that, in connection with the commencement of the Chapter 11
Case, the Authorized Agent is authorized and directed to seek approval of a cash collateral order
in interim and final form (a "Cash Collateral Order"), and the Authorized Agent is authorized,
empowered and directed to negotiate, execute and deliver any and all agreements, instruments or
documents by or on behalf of the Company, necessary to implement the Cash Collateral Order,
as well as any additional or further agreements for the use of cash collateral in connection with
the Chapter 11 Case, which agreement may require the Company to grant liens to the Company's
existing lender and each other agreement, instrument or document to be executed and delivered
in connection therewith, all with such changes therein and additions thereto as the Authorized
Agent approves, such approval to be conclusively evidenced by the taking of such action or by
the execution and delivery thereof, subject to Bankmptcy Court approval.
         RESOLVED FURTHER, that in addition to the specific authorizations heretofore
conferred upon the Authorized Agent, the Authorized Agent, and his designees and delegates,
be, and they hereby are, authorized and empowered, in the name of and on behalf of the
Company, to take or cause to be taken any and all such other and further action, and to execute,
acknowledge, deliver and file any and all such agreements, certificates, instruments and other
documents to pay all expenses, including but not limited to filing fees, in each case as in such
officer's judgment, shall be necessary, advisable or desirable in order to fully carry out the intent
and accomplish the purposes of the resolutions adopted herein.




40141211.2
                 Case 22-10522-JTD         Doc 1    Filed 06/09/22     Page 7 of 11




        RESOLVED FURTHER, that all acts, actions and transactions relating to the matters
 contemplated by the foregoing resolutions done in the name of and on behalf of the Company,
 which acts would have been approved by the foregoing resolutions except that such acts were
 taken before the adoption of these resolutions, are hereby, in all respects approved and ratified as
 the tme acts and deeds of the Company, with the same force and effect as if each such act,
 transaction, agreement or certificate had been specifically authorized in advance by the Company
 and its member.

         IN WITNESS WHEREOF, the undersigned has duly executed this Written Consent as
of the date first written above.



                                                          RIDER HOTEL MEZZANINE, LLC,
                                                            a Wiscon^iiLUmitedltability comp


                                                              By;
                                                                        imo           on

                                                              Titl      e




40141211.2
                                          Case 22-10522-JTD                         Doc 1        Filed 06/09/22                 Page 8 of 11



       Fill in this information to identify the case:

       Debtor name
                         Rider Hotel, LLC

       United States Bankruptcy Court for the
                                                 District of Delaware
                                                                                                                                                        1-] Check if this is an
       Case number (If known):
                                                                                                                                                             amended filing




  Official Form 204
   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
   Unsecured Claims and Are Not Insiders 12/15
   A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
   disputes. Do not include claims by any person or entity who is an i"ns;der, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
   secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
   largest unsecured claims.


     Name of creditor and complete                  Name, telephone number, and Nature of the claim Indicate if                Amount of unsecured claim
     mailing address. Including zip code            email address of creditor            (for example, trade     claim is      If the claim is fully unsecured, fill In only unsecured
                                                    contact                              debts, bank loans,      contingent, claim amount. If claim is partially secured, fill in
                                                                                         professional            unliquidated, total claim amount and deduction for value of
                                                                                         services, and           or disputed collateral or setoffto calculate unsecured claim.
                                                                                         government
                                                                                         contracts)
                                                                                                                                  Total claim, if   Deduction for Unsecured
                                                                                                                                  partially         value of claim
                                                                                                                                  secured           collateral or
                                                                                                                                                    setoff
|1 I Florida Lofts, LLC                            CJ. Krawczyk - cjk@kravitlaw.com       Contract Claim          Contingent,
      122 WWashlngtonAve., Suite 350               Stuart J. Check - sjc@kravit1aw.com                           Unliquidated,                                            unknown
i ! Madison Wl 53703                               414-271-7100
                                                                                                                  Disputed



|2 l U.S. Small Business Administration            833-853-5638                          EIDL Loan
     ; Office of Disaster Assistance                                                                             Contingent,
                                                                                                                                                                        $2,000,000.00
     i 14925 Kingsport Road                                                                                      Disputed
      Fort Worth 7X76155


|3 Amall Golden Gregory LLP                        info@agg.com                          Professional Servi<     Contingent,
      171 17th Street NW, Suite 2100               404^73-8500                                                   Unliquidated,                                          (234,347.34
                                                                                                                                                    I
      Atlanta GA 30363                                                                                           Disputed



14    ABM Parking Services                         414-289-7749                          Contract | Contingent,
     •: PO Box 74008829                                                                               I Unliquidated,                                                   $282,594.12
      Chicago IL 60674                                                                                  Disputed



J5 I Cade Law Group LLC                             Nathaniel Cade Jr.                   I Professional Services Contingent,
     PO Box 170887                                I nate@cade-law.com                                             Unliquidated,                                          $56.000.00
      Milwaukee Wl 53217                          I 414-225-3802                                                  Disputed



b     Wegner CPAs LLP                              info@wegnerepas.com                   Professional Services
      PO Box 150                                   608-3i6-3966                                                                                                          $46,368.83
     I BarabooWI 53913                                                                                                                                              I




|7   dark Hill PLC                                I 312-985-5900                         Professional Servii
                                                                                                                  Contingent,
                                                                                                                                                    I
     PO Box 3760                                                                                                  Unliquidated,                                          $38,887.15
     Pittsburgh PA 15230                                                                                          Disputed


      Dombrook Construction Inc                   ? Lawrence Brinkman                    Services
                                                                                                                  Contingent,
     N91 W20980 Hillview Drive                    i brinkman.lawrence@gmail.com                                                                                         $38,560.00
                                                                                                                  Unliquidated,
     Menomonee Falls Wl 53051                      414-333-0642
                                                                                                                  Disputed




  Official Form 204                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                        page 1
                                          Case 22-10522-JTD                       Doc 1         Filed 06/09/22          Page 9 of 11



   Debtor Rider Hotel, LLC                                                                              Case number (ffknoi«n)_
                      Name



     Name of creditor and complete                  Name, telephone number, and Nature of the claim Indicate if Amount of unsecured claim
     mailing address, including zip code            email address of creditor        (for example, trade claim is If the claim is fully unsecured, fill in only unsecured
                                                    contact                          debts, bank loans, contingent, claim amount. If claim is partially secured, fill in
                                                                                     professional        unliquidated, (otgl claim amount and deduction for value of
                                                                                     services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                                     government
                                                                                     contracts)

                                                                                                                          Total claim, if      Deduction for       Unsecured
                                                                                                                          partially            value of            claim
                                                                                                                          secured              collateral or
                                                                                                                                               setoff


I9      FE Equus LLC
       VW609 Pine Hill Trail
                                                   Timothy J. Dixon
                                                   tim@feequus.com
                                                                                      Services

                                                                                                                                                                         $33,374.80
      , Cascade Wl 53011


                                                                                                                                            .-1-

      Employers Assurance Company                  customersupport@employers.ci       Contract
                                                   888-882-6671
                                                                                                          Contingent,
      10375 Professional Circle                                                                                                                                          $32,080.00
                                                                                                          Unliquidated
      Reno NV 89521




11 -I ^ Terry 8, Nudo LLC                          info@lawmjdwest.com               s Services
                                                                                                          Contingent,
      4003 80th St                                 262-842-2338                                                                                                           $6,260.12
      Kenosha W!53142
                                                                                                          Unliquidated,
                                                                                                          Disputed


--j2 I Just Mechanical                             gregjustmechanical@gmail.com       Servit
      16200 WGIendaleDr                            262-A86-2365                                           Contingent,
                                                                                                                                                                          $6,260.12
      New Berlin Wl 53151                                                                                 Unliquidated

                                                                                                                                            .!._
|-|3 1 Badger Liquor VWrre and Spirits              shensel@badgerliquor.com          Supplies
      PO Box 1137                                 ; 414-546-2060                                          Contingent,                                                     $5,271.45
      Fond Du Lac M 54936                                                                                 Unliquidated


|-j4 | Sysco Eastern Wisconsin LLC                 262-677-1100                       Supplies
I , One Sysco Drive                                                                                       Contingent,                                                     $3,822.29
      Jackson W] 53037                                                                                    Unliquidated


^ 5 , Coakley Brothers Company                     arcbc@coakleybrothere.com          Goods
      400 South Fifth Street                       866-478-1645                                           Contingent,                                                     $3,730.00
      Milwaukee Wl 53204                                                                                  Unliquidated



]^6 UR's Fabrication 8, Welding                    Warren Heir                        Services
                                                                                                          Contingent,
     ; 19167 W Main Street                         chprs41ife@hotmail.com                                                                                                $3,692.50
     ! Lannon W] 53046                             715-342-0300
                                                                                                          Unliquidated



|-|7 | Guest Supply                                info@guestworidwjde.com            Supplit             Contingent,
      PO Box 6771                                  732-868-2200                                                                                                          $3,171.70
                                                                                                          Unliquidated
      Sommerset NJ 08875


                                                                                                                                                               -I-.....,-.,,,.-,.-...

^Q | Fortune Wisconsin LLC                         tech@fortunefishco.net             Services                                                                 I
                                                                                                          Contingent,                                          I $2,888.56
      PO Box 288                                   608-846-1160
                                                                                                          Unliquidated
      Windsor W153598


                                                                                                                                            .4—
      Alan Di Leo                                  Alan Di Leo                        Services
      12418 Piazzo Street                          adileo@theironhorsehotel.com                                                                                           (2,651.86
      LasVegasNV89141



12Q I VMarchese tnc                                info@vmarchese.com                 Goods
                                                                                                          Contingent,
     I 600 S Jake Marchese Way                     414-289-0995
                                                                                                                                                                         i2,528.19
      Milwaukee Wl 53204
                                                                                                          Unliquidated




  Official Form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                          page 2
                 Case 22-10522-JTD      Doc 1    Filed 06/09/22    Page 10 of 11




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                          )
In re:                    ) Chapter 11
                          )
RIDER HOTEL, LLC,         ) Case No. 22-_ ( )
                          )
                  Debtor. )
___________ )
                       CORPORATE OWNERSHIP STATEMENT
              PURSUANT TO FED. R. BANKR. P. 1007(a)(l), 1007(a)(3), and 7007.1

         Pursuant to Rules 1007(a)(l), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

 Procedure, Rider Hotel, LLC, the debtor in possession in the above-captioned case (the

 "Debtor"), hereby states as follows:

         1.      Rider Hotel Mezzanine, LLC, a Wisconsin limited liability company, is the sole
                 member of the Debtor and owns 100% of the Debtor.
                               Case 22-10522-JTD                    Doc 1          Filed 06/09/22              Page 11 of 11


   Fill in this information to identify the case and this filing:

                     Rider Hotel, LLC
   Debtor Name

   United States Bankruptcy Court for the:                           District of Delaware
                                                                               (State)
   Case number (ffknown):




Official Form 202
 Declaration Under Penalty of Perjury for Non-lndividual Debtors 12/15
 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
 this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
 and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
 document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.


             Declaration and signature



          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.
          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          L] Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
          1-1 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Q Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         1-] Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         Q Schedule H: Codebtors (Official Form 206H)
         Q Summary of Assets and Liabilities for Non-lndividuals (Official Form 206Sum)
         Q Amended Schedule

         El Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
         a Other document that requires a declaration Corporate Ownership Statement


         I declare under penalty of perjury that the foregoing is true anj        ct.


         Executed on     ^hl^o^
                        MM / DO / YYYY                                                          on behalf of




                                                                      imothy J. Dixon
                                                                 Printed name

                                                                    President
                                                                 Position or relationship to debtor



Official Form 202                            Declaration Under Penalty of Perjury for Non-lndividual Debtors
